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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF ILLINOIS

UNITED STATES OF AMERICA,

Plaintiff,

v.

RAUL RICARDO TERAN,

Defendant.                                                  No. 07-30136-DRH

                    ORDER FOR PRE-SENTENCE PROCEDURE

HERNDON, Chief Judge:

              Strict compliance with Federal Rule of Criminal Procedure 32 and

Southern District of Illinois Local Rule Cr 32.1 shall be enforced. A party wishing

to object to a presentence report must have such objections filed with the Clerk of

the Court no later than 14 days after receiving the presentence report. For counsel,

receiving is interpreted to mean when the presentence report is docketed in the court

file via CM/ECF. Responses to objections must be filed no later than 7 days after

receipt of said objections. Parties, however, are encouraged to consult with the

probation officer who authored the presentence report prior to filing objections in

an effort to obtain agreement to revise the report without necessity of formal

objections.   Such informal discussions are not sufficient cause to exceed the

deadlines without leave of court for an extension of time, which likely will impact the

sentencing date.

              Any unresolved objections which are subject to a formal objection shall

cause the probation officer to prepare an addendum addressing each objection.
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            Any party wishing to file a sentencing memorandum relative to the

issues to be considered at sentencing, shall file such pleading no later than 7 days

before sentencing. Likewise, should either party intend to present testimony at the

sentencing hearing, notice of the proposed witnesses, the subject of said testimony,

and projected length of the testimony shall be filed with the court no later than 7

days prior to the sentencing hearing, with service on opposing counsel. Generally,

the court schedules sentencing hearings for an hour and this information will allow

the court the opportunity to change its schedule if necessary

            If a party is unable to comply with this schedule, a continuance of the

sentencing date should be sought.


            IT IS SO ORDERED.

            This 22nd day of June, 2010.

                                             /s/ DavidRHer|do|
                                             Chief Judge
                                             United States District Court
